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                                 UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF ARIZONA
      In re                                                                   Case No. 2:17-bk-01480-SHG
      Efrin Matthew Cardenas; and
                                                                              CHAPTER 13 PLAN
      Trisha Lynnette Cardenas,
                                                                              ☐   Original
                                                                              ☐
                                                                              ✘   Amended
                                                                              ☐
                                                                              ✘   Modified
                                                                              ☐   Payments include post-petition mortgage payments
                                                                              ☐
                                                                              ✘   Flat Fee/Administrative Expense
                                             Debtor(s)                        ☐   Hourly Fee/Administrative Expense


      This Plan1 includes the following (check all that are applicable):

           ☐ A limit on the amount of a secured claim, which may result in a partial payment or no payment to the secured
             creditor. See Section (C)(5)(b).
           ☐ Avoidance of a judicial lien or nonpossessory, nonpurchase money security interest. See Section (C)(5)(c).
           ☐
           ✘ Nonstandard Provisions. See Section (H).

      Your rights may be affected by this Plan. Your claim may be reduced, modified or eliminated. If you object to the
      treatment of your claim as proposed in this Plan or to any provision of this Plan, you must file a written objection
      by the deadline set forth below. The Bankruptcy Court may confirm this Plan without further notice if no objection
      is filed and the order is approved by the Trustee. See Bankruptcy Rule 3015 and Local Rule 2084-13.

      This Chapter 13 Plan is proposed by the above Debtor.2 The Debtor certifies that the information contained in this Plan is
      accurate. A creditor who disagrees with the proposed treatment of its debt in this Plan must timely file an objection to the
      Plan and serve copies on the Debtor, Debtor’s attorney (if any), and the Chapter 13 Trustee not less than 14 days after the
      date set for the first meeting of creditors, or any continuation of such meeting, or 28 days after service of the Plan,
      whichever is later. See Local Rule 2084-9.

      This Plan does not allow claims or alter the need for timely filing any claim. For a creditor to receive a distribution for an
      unsecured claim, the creditor must file a proof of claim with the Court.

      If confirmed, the Plan will modify the rights and duties of the Debtor and creditors, except secured creditors will retain their
      liens until the earlier of payment of the underlying debt or Debtor’s discharge under Code § 13283. If the case is dismissed
      or converted to another chapter (for example, Chapter 7) without completion of the Plan, each lien shall be retained to the
      extent recognized by applicable nonbankruptcy law.


  1
     “Plan” includes the original plan and any amended or modified plan.
  2
      If this is a joint case, then “Debtor” means both Debtors. 
  3
     “Code” means the United States Bankruptcy Code, 11 U.S.C. § 101 et. seq.

  Local Form 2084-4 (12/17)                                    Chapter 13 Plan                                                       Page 1
 Pre-petition defaults will be cured using the interest rate set forth in the Plan or Code § 511, if applicable. Any ongoing
 obligation will be paid according to the terms of the Plan.

      ☐
      ✘ This is an Amended or Modified Plan.

          The reason(s) why Debtor filed this Amended or Modified Plan:
          Debtors lost their house to foreclosure and have had to move and need a moratorium on plan payments
          for the months of July, August and September 2018 in order to have funds to move                                            .

                                                                          The obligation to U.S. Bank and Villagio at Happy
          Summarize how the Plan varies from the last Plan filed: _____________________________________________
          Valley Condominium Association have been extinguished as a result of foreclosure; therefore those creditors have been removed
          __________________________________________________________________________________________
          from the Plan and Moratorium requested for July, August and September of 2018 has been calculated into remaining payments
          __________________________________________________________________________________________.

 (A) Plan Payments and Property to be Submitted to the Trustee.

                                   March 20
         Plan payments start on ______________,   17 The Debtor shall pay the Trustee as follows:
                                                20___.

              $       725.00 each month for month 1 through month 11 .
              $       765.00 each month for month 12 through month 15 .
                                                                         $667.18 each month for months 19 through 60
              $           -0- each month for month 16 through month 18 .

         The proposed Plan duration is 60 months. The applicable commitment period is 36 months.
         See Code § 1325(b)(4). In addition to plan payments and, if applicable, mortgage conduit payments, Debtor will
         submit the following property to the Trustee:




 (B) Trustee’s Percentage Fee. The Trustee shall collect upon receipt a percentage fee from all plan payments (including
     mortgage payments) and property received, not to exceed 10%.

 (C) Administrative Expenses and All Claims.

     (1) Until the Court confirms the Plan the Trustee will make adequate protection payments under Section (C)(1)(a)
         below, mortgage conduit payments under Section (C)(1)(b), if applicable, and pay other sums as ordered by the
         Court. Other disbursements will be made after the Court confirms the Plan. Unless otherwise provided for in
         Section (H) below, disbursements by the Trustee shall be pro rata within classes and made in the following order:

         (a) Adequate protection payments to creditors secured by personal property.

              ☐ None. If “None” is checked, the rest of Section (C)(1)(a) is not to be completed.

              Pursuant to Local Rule 2084-6, the Trustee is authorized to make monthly pre-confirmation adequate protection
              payments to a secured creditor without a Court order, provided the claim is properly listed on Schedule D, a
              secured proof of claim is filed that includes documentation evidencing a perfected security agreement, and
              the Debtor or creditor sends a letter to the Trustee requesting payment. The Trustee will apply adequate
              protection payments to the creditor’s secured claim. After confirmation, adequate protection payments will
              continue until the claim is paid in full, unless the confirmed Plan or a Court order specifies a different
              treatment. If a creditor disagrees with the amount of the proposed adequate protection payments or the Plan
              fails to provide for such payments, the creditor may file an objection to confirmation of this Plan and/or file a
              motion pursuant to Code §§ 362 or 363.




Local Form 2084-4 (12/17)                                   Chapter 13 Plan                                                          Page 2
                                                                                                                   Monthly
                          Creditor                        Property Description             Collateral Value
                                                                                                                   Amount
          SunWest Federal Credit Union            2015 Ford Mustang                                17,900.00            490.00




            ☐ Nonstandard Provisions. See Section (H).

         (b) Mortgage Conduit Payments.

            ☐
            ✘ None.

                   The Trustee shall disburse Conduit Payments to a Real Property Creditor without regard to whether the
                   Court has confirmed a Plan or the Real Property Creditor has filed a proof of claim. See Section (C)(4)(c)
                   and Local Rule 2084-4.

     (2) Administrative expenses. Code § 507(a)(2).

        (a) Attorney fees. Debtor’s attorney has agreed to:

            ☐ A flat fee of $                  , of which $             was paid before the filing of the case (See Local Rule
              2084-3);
                   or
            ☐
            ✘ File a fee application for payment of a reasonable amount of fees. The estimated amount of fees to be
                paid by the Trustee, subject to Court order, is $ 5825.46 , of which $ 400.00 was paid before the
                filing of the case.from March 2017 to December 2017 fees have been awarded prior counsel Brian
                                   Blum in t he sum of 5425.46.
        (b) Additional Services. Counsel for the Debtor has agreed to charge a flat fee for the following additional services
            provided to the Debtor:

            (i)         Before Confirmation:
                        ☐ Adversary proceedings $                .
                        ☐ Lien Avoidance Actions $                 .
                        ☐ Preparing and filing of any motion to sell property $    .
                        ☐ Other Flat Fees for ______________________________________________ $                             .

            (ii)        After Confirmation:
                        ☐
                        ✘ Preparing and filing of Modified Plan $       1500    .
                        ☐ Responding to motion to dismiss and attendance at hearings $     .
                        ☐ Defending motion for relief from the automatic stay $          .
                        ☐ Adversary proceedings $                 .
                        ☐ Lien Avoidance Actions $                  .
                        ☐ Preparing and filing of any motion to sell property $        .
                        ☐ Other Flat Fees for ______________________________________________ $
                                              any  of the above  for  $1,500 each                              1500.00     .

            All other additional services will be billed at the rate of $   250       per hour for attorney time and
            $     190       per hour for paralegal time. Counsel will file and notice a separate fee application detailing the
            additional fees and costs requested. Counsel will include all time expended in the case in the separate fee
            application.


Local Form 2084-4 (12/17)                                Chapter 13 Plan                                                       Page 3
        (c) Other Professional Expenses:




     (3) Leases and Unexpired Executory Contracts.

        ☐
        ✘ None. If “None” is checked, the rest of Section (C)(3) is not to be completed.

            Pursuant to Code § 1322(b), the Debtor assumes or rejects the following lease or unexpired executory contract.
            For a lease or executory contract with sums owing, the arrearage will be cured by periodic plan payments.
            Unless the Court orders otherwise, the arrearage amount shall be the amount stated in the creditor’s allowed
            proof of claim.

         (a) Assumed.

            No interest will be paid on the prepetition arrearage unless otherwise stated in Nonstandard Provisions at
            Section (H). A creditor identified in this paragraph may mail to the Debtor all correspondence, notices,
            statements, payment coupons, escrow notices, and default notices concerning any change to the monthly
            payment or interest rate without such being a violation of the automatic stay.

                                                                                                   Estimated        Arrearage
                     Creditor                                Property Description                  Arrearage        Through
                                                                                                    Amount            Date




            ☐ Nonstandard Provisions. See Section (H).

         (b) Rejected.


                         Creditor                                             Property Description




            ☐ Nonstandard Provisions. See Section (H).

     (4) Creditors with a Security Interest in Real Property.

        ☐
        ✘ None. If “None” is checked, the rest of Section (C)(4) is not to be completed.

        (a) Claim Wholly Unsecured. The Debtor considers any real property creditor listed below to have an unsecured
            claim under Code § 506(a) as senior liens are greater in amount than the value of the real property. Unless
            disallowed or otherwise ordered, each of the following shall be classified as a wholly unsecured claim under
            Section (C)(7) below. This provision shall not alter the status of a claim otherwise entitled to be classified as a
            priority under Code § 507(a)(8).


Local Form 2084-4 (12/17)                                Chapter 13 Plan                                                      Page 4
                                                                                                                 Total
                                                                                                               Amount of
                                                                                                Value of
                     Creditor                              Property Description                                Liens with
                                                                                                Collateral
                                                                                                                Greater
                                                                                                                Priority




        (b) No Pre-Petition Mortgage Arrears. To the extent there are no pre-petition arrears, regular post-petition
            mortgage payments shall be paid directly by the Debtor to the secured creditor.

                                                                                                Post-Petition Payments by
                       Creditor                              Property Address
                                                                                                          Debtor




        (c) Curing of Default and Maintenance of Payments. Prepetition arrearages, including fees and costs, as well as
            the regular post-petition payments shall be paid through the Plan by the Trustee. No interest will be paid on
            the prepetition arrearage unless otherwise stated in Nonstandard Provisions. Unless the Court orders
            otherwise, the arrearage amount shall be the amount stated in the creditor’s allowed proof of claim.

            A creditor identified in this paragraph may mail the Debtor all correspondence, notices, statements, payment
            coupons, escrow notices, and default notices concerning any change to the monthly payment or interest rate
            without violating the automatic stay.

                                                                                                    Estimated
                                                                                                                   Interest
                                                                                                    Arrearage
                                                                                      Current                      Rate, if
           Creditor or Property Servicing                                                            Amount
                                                    Property Description              Monthly                     applicable
                       Agent                                                                        Owed and
                                                                                      Payment                        (i.e.
                                                                                                    Date Owed
                                                                                                                   HOA’s)
                                                                                                     Through




            ☐ Nonstandard Provisions. See Section (H).

     (5) Claims Secured by Personal Property or a Combination of Real and Personal Property.

        ☐
        ✘ None. If “None” is checked, the rest of Section (C)(5) is not to be completed.

            Claims under paragraphs (a) and (b) that are included in the plan payment will be paid concurrently and pro
            rata.

        (a) Unmodified Secured Claims.

            ☐
            ✘ None. If “None” is checked, the rest of Section (C)(5)(a) is not to be completed.

Local Form 2084-4 (12/17)                              Chapter 13 Plan                                                    Page 5
            A claim stated in this subparagraph (i.e. 910 claims) will be paid in full under the Plan with interest at the rate
            stated below, which may vary from the contract interest rate. Unless otherwise ordered, the principal amount
            to be paid will be as stated in the creditor’s proof of claim. The holder of a claim will retain the lien until the
            earlier of payment of the underlying debt determined under nonbankruptcy law or discharge under Code
            § 1328, at which time the lien will terminate and shall be released by the creditor. Federal tax liens shall
            continue to attach to property excluded from the bankruptcy estate under Code § 541(c)(2) until the Internal
            Revenue Service is required to release the liens in accordance with nonbankruptcy law.

                                                                                                    Estimated
                                                                                                    Amount to        Proposed
                       Creditor                               Property Description                  be Paid on        Interest
                                                                                                     Secured           Rate
                                                                                                      Claim




            ☐ This debt has nonfiling codebtor(s) other than a spouse.
                  Name(s) of other individual(s) liable:
                  Post-petition payments to be made by:      ☐ Trustee; or
                                                             ☐ Nonfiling codebtor.

            ☐ Nonstandard Provisions. See Section (H).

        (b) Modified Secured Claims.

            ☐
            ✘ None. If “None” is checked, the rest of Section (C)(5)(b) is not to be completed.

            Secured creditors listed below shall be paid the amount shown below as the Amount to be Paid on Secured
            Claim, with such amount paid through the Plan payments. If the Plan proposes to pay a Secured Claim less
            than the amount asserted in the proof of claim, then the holder of the Secured Claim must file a timely
            objection to the Plan. If the principal amount of the creditor’s proof of claim is less than the Amount to be Paid
            on Secured Claim, then only the proof of claim amount will be paid. If a creditor fails to file a secured claim or
            files a wholly unsecured claim, the debtor may delete the proposed payment of a secured claim in the order
            confirming plan. The holder of a timely filed secured claim will retain its lien until the earlier of payment of the
            underlying debt determined under nonbankruptcy law or discharge under Code § 1328, at which time the lien
            will terminate and shall be released by the creditor. Any proposed adequate protection payments are provided
            for in Section (C)(1)(a) above.

                                                                                                      Amount to
                                                                                                                     Proposed
                                                        Debt            Value of Collateral and       be Paid on
            Creditor and Property Description                                                                        Interest
                                                       Amount             Valuation Method             Secured
                                                                                                                       Rate
                                                                                                        Claim




            ☐ Nonstandard Provisions. See Section (H).



Local Form 2084-4 (12/17)                               Chapter 13 Plan                                                      Page 6
        (c) Lien Avoidance.

            ☐
            ✘ None. If “None” is checked, the rest of Section (C)(5)(c) need not be completed.

            The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below
            impair exemptions to which the debtor(s) would have been entitled under Code § 522(b). Unless ordered
            otherwise, a judicial lien or security interest securing a claim listed below will be avoided to the extent that it
            impairs such exemptions upon entry of the order confirming the plan. The amount of the judicial lien or
            security interest that is avoided will be treated as an unsecured claim in Section (C)(7) to the extent allowed.
            The amount, if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured
            claim under the plan. See Code § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided,
            provide the information separately for each lien. All information for the avoidance of the lien(s) must be
            provided.


            Information regarding judicial lien or       Information regarding calculation of lien avoidance and treatment
                      security interest                                    of remaining secured claim




     (6) Priority, Unsecured Claims, Other Than Debtor’s Attorney Fees.

        ☐ None. If “None” is checked, the rest of Section (C)(6) is not to be completed.

            All allowed claims entitled to priority treatment under Code § 507 shall be paid in full, pro rata:

        (a) Unsecured Domestic Support Obligations. The Debtor shall remain current on such obligations that come due
            after filing the petition. Unpaid obligations before the petition date are to be cured in the plan payments. The
            amount to be paid will be adjusted to the creditor’s allowed claim amount, through the claim process. If the
            holder of a domestic support obligation disagrees with the treatment proposed in this Plan, the holder must file
            a timely objection.


                             Creditor                                              Estimated Arrearage




       (b) Other unsecured priority claims.

                                                                                                                   Estimated
                             Creditor                                     Type of Priority Debt
                                                                                                                    Amount
                                                             Taxes
         IRS                                                                                                            125.00




Local Form 2084-4 (12/17)                               Chapter 13 Plan                                                      Page 7
              ☐ Nonstandard Provisions. See Section (H).

     (7) Nonpriority, Unsecured Claims. Allowed unsecured, nonpriority claims shall be paid pro rata the balance of
         payments, if any, under the Plan. The amount to be paid or actually paid may differ from the Plan Analysis,
         depending on the Plan confirmation process and claims allowance.

         ☐ Nonstandard Provisions. See Section (H).

 (D) Surrendered Property.

     ☐
     ✘ None. If “None” is checked, the rest of Section (D) is not to be completed.

         Debtor surrenders the following property to the secured creditor. Upon confirmation of this Plan or except as
         otherwise ordered, bankruptcy stays are lifted as to the collateral to be surrendered. Any claim filed by such
         creditor shall receive no distribution until the creditor files a claim or an amended proof of claim that reflects any
         deficiency balance remaining on the claim. Should the creditor fail to file an amended deficiency claim consistent
         with this provision, the Trustee need not make any distributions to that creditor.


                               Entity                                            Brief Description of Property




 (E) Vesting. Except as stated in this paragraph, property of the estate shall vest in the Debtor upon confirmation of the
     Plan.

     ☐ The following property shall vest in the Debtor upon Plan completion:

                                                    Brief Description of Property




     ☐ Nonstandard Provisions. See Section (H).

 (F) Tax Returns. While the case is pending, the Debtor shall provide to the Trustee a copy of any post-petition tax return
     within 14 days after filing the return with the tax agency. The Debtor has filed all tax returns for all taxable periods
     during the four-year period ending on the petition date, except:



                                                         Unfiled Tax Returns
       2017



 (G) Funding Shortfall. Debtor will cure any funding shortfall before the Plan is deemed completed.




Local Form 2084-4 (12/17)                                 Chapter 13 Plan                                                         Page 8
 



    (H) Nonstandard Provisions. Any Nonstandard Provision included herein must not be inconsistent with the Code or Local
        Rules and must identify the provision of the Plan being modified, the proposed modification and the justification for
        the modification. Any Nonstandard Provision placed elsewhere in this Plan is void. The Debtor submits the following
        provisions that vary from Section (C) of the Local Plan Form:

       ☐
       ✘ None. If “None” is checked, the rest of Section (H) is not to be completed.
       ☐ Provide the detail required above.

                                                        Nonstandard Provisions
          [State the provision(s) with reference to relevant paragraph(s)]




Local Form 2084-4 (12/17)                                  Chapter 13 Plan                                                 Page 9
 

    (I) Plan Summary. If there are discrepancies between the Plan and this Plan Analysis, the provisions of the confirmed Plan
        control.

        (1) Trustee’s Compensation (10% of Total of Plan Payments to Trustee)...................................................... $ 3,664.85
        (2) Administrative Expenses (§ (C)(2)) .................................................................................................................... $ 4,653.51
        (3) Leases and Executory Contracts (§ (C)(3)) ......................................................................................................... $              0
        (4)(a) Conduit Mortgage Payments (§ (C)(4)(c)) ..................................................................................................... $                 0
        (4)(b) Arrearage Claims Secured Solely by Real Property (§ (C)(4)(c)).................................................................. $                              0
        (5)(a) Claims Secured by Personal Property or Combination of Real & Personal.....................................................................
               Property (§ (C)(5)) - Unmodified.................................................................................................................... $
        (5)(b) Claims Secured by Personal Property or Combination of Real & Personal Property (§ (C)(5)) - Modified... $ 29400.00
        (6) Priority Unsecured Claims (§ (C)(6)).................................................................................................................. $      125.00
        (7) Unsecured Nonpriority Claims (§ (c)(7)) ............................................................................................................ $             0
        (8) Total of Plan Payments to Trustee....................................................................................................................... $ 37,843.36

    (J) Section 1325 analysis.

       (1) Best Interest of Creditors Test:

             (a) Value of Debtor’s interest in nonexempt property........................................................................................ $                 0
             (b) Plus: Value of property recoverable under avoidance powers ..................................................................... $                         0
             (c) Less: Estimated Chapter 7 administrative expenses.................................................................................... $                  335
             (d) Less: Amount payable to unsecured, priority creditors............................................................................... $                   125
             (e) Equals: Estimated amount payable to unsecured, nonpriority claims if Debtor filed Chapter 7.................. $                                            0

       (2) Section 1325(b) Analysis:

           (a) Monthly Disposable Income, Form B 122C-2 (if less than $0, then state $0................................................ $                                  0
           (b) Applicable Commitment Period.......................................................................................................................... x 60
           (c) Total of Line (2)(a) amount x 60.................................................................................................................. $        0
       (3) Estimated Payment to Unsecured, Nonpriority Creditors Under Plan ............................................................... $                              0


    Certification by Debtor(s) and Attorney for Debtor(s): No changes were made to the Model Plan, other than the possible
    inclusion of relevant Nonstandard Provisions in Section (H).


    Dated:        September 14                         18
                                                  , 20____.


     s/Efrin Matthew Cardenas                                                Trisha Lynnette Cardenas
    Debtor                                                                   Debtor



    s/ Kyle A. Kinney
    Attorney for Debtor




Local Form 2084-4 (12/17)                                                   Chapter 13 Plan                                                                         Page 10
